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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                             Case No. 01-80571
v.
                                                             Hon. John Corbett O’Meara
MILTON “BUTCH” JONES, et al.,

            Defendants.
_________________________________/


             OPINION AND ORDER DENYING DEFENDANT JONES’S
                MOTION FOR RECONSIDERATION OF ORDER
          DENYING MOTION TO DISMISS COUNT 2 OF THE INDICTMENT

       Defendant Milton “Butch” Jones is charged with conspiracy to distribute cocaine and

marijuana, directing a continuing criminal enterprise (“CCE”), and intentional killing. To prove

a CCE violation, the government must prove that “the violation was part of a continuing series of

three or more drug offenses committed by the defendant.” United States v. Burns, 298 F.3d 523,

535 (6th Cir. 2002). On January 14, 2002, Jones filed a motion requesting, among other things,

the dismissal of the CCE count because it failed to expressly allege three predicate drug

trafficking violations. The court heard oral argument on this motion on April 18, 2002, and

issued an opinion and order denying the motion on April 25, 2002. The court held that it was not

necessary to plead the predicate offenses with particularity in the indictment.

       On February 17, 2005, Jones filed a second motion to dismiss the CCE count because of

failure to specifically allege three predicate violations. The government filed a response on

April 12, 2005, and Jones filed a reply on April 15, 2005. The court heard oral argument on

April 19, 2005, and filed an opinion denying the motion on May 31, 2005. On June 7, 2005,
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Jones filed a motion for reconsideration pursuant to E.D. Mich. LR 7.1(g). For the following

reasons, this motion is denied.

       The standards governing motions for reconsideration are set forth in the Eastern District

of Michigan’s Local Rule 7.1(g)(3):

               Generally, and without restricting the court’s discretion, the court
               will not grant motions for rehearing or reconsideration that merely
               present issues ruled upon by the court, either expressly or by
               reasonable implication. The movant must not only demonstrate a
               palpable defect by which the court and the parties have been misled
               but also show that correcting the defect will result in a different
               disposition of the case.

Defendant notes that the May 31, 2005 opinion did not refer the cases he cited in his April 15,

2005 reply brief and apparently believes the court may have overlooked these cases when

making its decision. The court did consider the April 15, 2005 reply brief before it issued the

May 31, 2005 opinion, but it did not find the cases cited persuasive. Defendant’s motion for

reconsideration does not raise any new arguments, but merely attempts to reemphasize the

arguments previously made to the court. The arguments are still not persuasive.

       First, the government has sufficiently alleged three predicate offenses by pointing to the

drug conspiracy charge and the many individual drug transactions underlying this charge. As

this court has already noted in the May 31, 2005 opinion, “the Government need not allege ‘three

specific drug transactions’ in the Indictment in order to properly charge a CCE offense.” United

States v. Burns, 298 F.3d 523, 535 (6th Cir. 2002). Defendant claims that the recent Sixth

Circuit decision in United States v. Harris, 397 F.3d 404 (6th Cir. 2005) overruled its previous

decision in Burns. Defendant’s reliance on Harris is misplaced. In Harris, a criminal defendant

was given a mandatory minimum sentence because the district court judge made a factual


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finding that the defendant possessed a firearm during the commission of a drug trafficking

offense. The firearm charge, which the court determined was not a sentencing factor but was

instead an element of an offense, was not brought before the jury. The Sixth Circuit found that

this factual finding by the district court violated the principle of United States v. Booker, 125 S.

Ct. 738 (2005), that a fact which might increase a sentence must be found by a jury or admitted

by the defendant. Id. at 414. The Harris court explicitly limited its holding to the statutory

mandatory minimum for firearm possession in 19 U.S.C. § 924. Id. In that case, while the

firearm possession was an element of an offense, it was still very similar to a sentencing

enhancement factor under the sentencing guidelines. In this case, no such similarity exists. The

CCE statute is not similar to a sentencing enhancement; it seeks to punish the actions of the

ringleaders of drug conspiracies, who are often able to insulate themselves from actual criminal

conduct. The three predicate offenses in the CCE statute are not automatic triggers for increased

sentences like § 924; they are instead minimum elements of an entirely new offense which is

very similar to a conspiracy offense.

       Moreover, the government plans to prove three predicates to the jury in this case. The

judge in this case has not and will not make a factual determination that three predicate offenses

occurred. The jury will make that determination, and Jones has been sufficiently put on notice of

the parameters of the drug conspiracy that contains the three predicate offenses. Booker is much

more clearly applicable to § 924 than it is to the predicate elements of the CCE statute. Burns is

still good law, and the Government has met the pleading requirements to properly charge a CCE

offense.




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       As the court noted in its May 31, 2005 opinion, even if the government were required to

allege three predicate offenses with specificity, it has done so in this case by alleging the drug

conspiracy and the intentional murders of two individuals, which occurred in furtherance of that

conspiracy. That Jones is not specifically noted as a defendant in one of the murders is not

material. The murder is sufficient to form one of the three predicate offenses for the purposes of

meeting the requirements of the CCE statute if the murder occurred in furtherance of the CCE.

       Accordingly, IT IS HEREBY ORDERED that Defendant Jones’s June 7, 2005 Motion

for Reconsideration of Order Denying Motion to Dismiss Count 2 of the Indictment is DENIED.



                               s/John Corbett O’Meara
                               John Corbett O’Meara
                               United States District Judge


Dated: July 6, 2005




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